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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY ZAPPIN,
                              Plaintiﬀ,
                                                                  ORDER
                – against –
                                                             20 Civ. 2669 (ER)
MATTHEW COOPER, et al.,

                              Defendants.


RAMOS, D.J.:
         On April 7, 2020, the Court issued an Order of Service, authorizing the Clerk of
Court to issue electronic summonses for certain defendants in this action. Doc. 6.
Should Zappin wish to have the Clerk issue such electronic summonses, he is directed to
ﬁle a Request for Issuance of Summons on ECF.
         As the Court indicated in its April 7 Order, Zappin is directed to serve the
summonses and complaint on each Defendant within 90 days of the issuance of the
summonses. If he is unable to serve the defendants, he must write to the Court, and if
necessary, the Court will direct service by the U.S. Marshals Service. If within 90 days,
Zappin has not served the defendants, requested an extension of time to do so, or
informed the Court that he is unable to serve the defendants, the Court may dismiss the
claims against the defendants under Rules 4 and 41 of the Federal Rules of Civil
Procedure for failure to prosecute.


It is SO ORDERED.


Dated:     April 13, 2020
           New York, New York

                                                           EDGARDO RAMOS, U.S.D.J.
